&

Case 1:17-cr-10281-PBS Document 183 Filed 07/17/19 Page 1of2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

v. CRIMINAL No. 17-CR-10281-PBS
MINERVA RUIZ

Defendant

 

STIPULATION #2
The United States of America, by Andrew E. Lelling, United States Attorney, and Lauren
Graber and Benjamin Tolkoff, Assistant United States Attorneys for the District of
Massachusetts, and Minerva Ruiz, through her counsel of record, Joseph Krowski, Jr., hereby
agree and stipulate to the following:
1. The English-language portion of the transcripts in Exhibits 2 through 9 are
translations of conversations that were conducted in Spanish.
2. The English-language transcripts were translated from Spanish to English by a court-
certified Spanish-language interpreter and are accurate translations of the original
Spanish recordings.
3. The participants in the conversations are those who are named in the transcripts. The
times and dates of the conversations are those indicated in the transcripts.
4. The parties stipulate to the accuracy and authenticity of Exhibits 2 through 9.

5. The defendant maintains an objection to Exhibits 2 through 9 as hearsay.

 
Case 1:17-cr-10281-PBS Document 183 Filed 07/17/19 Page 2 of 2

July 17, 2019 Respectfully submitted,

ANDREW E. LELLING
United States Atomics

a

Ce? u
» BL

~TAUREN AZGRABER
BENJAMIN TOLKOFF
Assistant United States Attorneys

 

Minerva Ruiz
By her attorney:

 

 
